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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 THE HUNTINGTON
 NATIONAL BANK,                               Case No. 2:19-cv-10890

              Plaintiff,                      HONORABLE STEPHEN J. MURPHY, III

 v.

 SAKTHI AUTOMOTIVE
 GROUP USA, INC., et al.,

              Defendants.
                                  /

                    ORDER GRANTING IN PART AND
           DENYING IN PART RECEIVER'S MOTION TO APPROVE
      BIDDING PROCEDURES AND TO AUTHORIZE AUCTION SALE [120]

        The matter comes before the Court on Receiver's motion to approve bidding

procedures and to authorize an auction sale (the "Motion"), filed by the Court-

appointed receiver Kevin English of Lark Advisors LLC on behalf of Defendants

Sakthi Automotive Group USA, Inc., Sakthi America Corporation, and Sakthi Real

Estate Holdings, Inc. The Court has reviewed the Motion and finds that (1) it has

jurisdiction over the matters raised in the Motion; (2) the relief requested in the

Motion is in the best interests of Defendants, their estates, and their creditors; (3)

proper and adequate notice of the Motion has been given and no other or further

notice is necessary; and (4) upon the record herein after due deliberation thereon,

good and sufficient cause exists for the granting of the relief as set forth herein.

Furthermore, because only one response was filed in opposition to Receiver's Motion




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and the response does not oppose the bidding procedures or the auction itself, see ECF

127, the Court will consider the Motion as unopposed.

      WHEREFORE, it is hereby ORDERED that Receiver's motion to approve

bidding procedures and to authorize an auction sale [120] is GRANTED IN PART

and DENIED IN PART.

      IT IS FURTHER ORDERED that Receiver's Motion is DENIED as to the

current Asset Purchase Agreement listing Defendants' debts owed to Williams,

Williams, Rattner & Plunkett, P.C. ("WWRP") for legal fees and expenses related to

the present action totaling $69,667.60. Receiver shall AMEND the Asset Purchase

Agreement to include Defendants' debt of $69,667.60 owed to WWRP for legal services

provided in the present proceeding under the "Assumed Liabilities" in Section 2.3 of

the Agreement.

      IT IS FURTHER ORDERD that Receiver's Motion is GRANTED as follows:

      1.     All objections to the entry of this order or to the relief provided herein,

that have not been withdrawn with prejudice, waived, resolved, or settled are hereby

denied and overruled on the merits with prejudice.

      2.     The Bidding Procedures,1 see ECF 120-1, PgID 3917–23, including, but

not limited to, the Bid Protections and references therein to the Stalking Horse

Purchase Agreement, are hereby approved in all respects and shall govern all bids

and bid proceedings relating to the Receivership Assets under the terms thereof.




1Capitalized terms not defined herein have the meanings given to them in Receiver's
Motion, its exhibits, or the Stalking Horse Purchase Agreement, ECF 120-2.


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Receiver and his professionals and agents are authorized and empowered to take any

and all actions necessary or appropriate to implement the Bidding Procedures.

      3.     As a result of the benefit to Defendants and their estates of the Stalking

Horse Purchase Agreement and to provide an incentive and to compensate the

Stalking Horse Bidder for performing the substantial due diligence and incurring the

expenses necessary and entering into the Stalking Horse Purchase Agreement with

the knowledge and risk that arises from participating in the sale and subsequent

bidding process, Defendants shall pay the Stalking Horse Bidder, under the

conditions and in the amount set forth in the Stalking Horse Purchase Agreement

and this order, the Break-Up Fee in the amount of $1,000,000.00 and the Expense

Reimbursement of up to $1,000,000.00. The Break-Up Fee and the Expense

Reimbursement Amount shall be paid in accordance with the Stalking Horse

Purchase Agreement, the Bidding Procedures, and this order.

      4.     The Good Faith Deposit of the Successful Bidder (other than the

Stalking Horse Bidder) will be used first to satisfy any Break-Up Fee and Expense

Reimbursement Amount to which the Stalking Horse Bidder is entitled hereunder by

reason of its not being the Successful Bidder.

      5.     All objections based on events occurring at the Auction must be: (a) in

writing; (b) signed by counsel or attested to by the objecting party; (c) in conformity

with the Local Rules of the Court; (d) filed with the Court by 4:00 p.m. (prevailing

Eastern Time) on October 4, 2019 (the "Auction Objection Deadline"); and (e) served

on the following parties (collectively, the "Objection Notice Parties") in accordance




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with the Local Rules of the Court so as to be received on or before the relevant

objection deadline: (i) counsel for Receiver, The Dragich Law Firm PLLC, 17000

Kercheval Avenue, Suite 210, Grosse Pointe, MI 48230 (Attn: David Dragich, Esq.

and Amanda Vintevoghel, Esq.); (ii) counsel for the Stalking Horse Bidder, (a) Jones

Day, North Point, 901 Lakeside Avenue, Cleveland, OH 44114 (Attn: Thomas

Wearsch, Esq.); and (b) Jones Day, 150 West Jefferson Avenue, Suite 2100, Detroit,

MI 48266 (Attn: Arthur O’Reilly, Esq.). Each objection shall state the legal and

factual basis of such objection and may be orally supplemented at a relevant hearing.

      6.         Receiver is authorized and empowered to consummate a sale to AAPICO

Hitech Public Company Limited ("AAPICO")—the Stalking Horse Bidder—without

further Court approval ("Stalking Horse Closing") if either of the following conditions

is met: (1) no other Qualified Bid is received or (2) an Auction is held and the Stalking

Horse Bid is the highest bid of all the Qualified Bids. With respect to the Stalking

Horse Closing:

            i.         Receiver and Sellers are authorized to perform their obligations
                       under and comply with all terms of the Stalking Horse Purchase
                       Agreement and to take all action necessary to consummate the
                       sale of the Purchased Assets, pursuant to and in accordance with
                       the terms and conditions of the Stalking Horse Purchase
                       Agreement and this order, including, without limitation, to pay a
                       cash component of the Purchase Price at the closing of the sale to
                       Plaintiff in an amount to pay in full all obligations and
                       indebtedness owed to (1) Plaintiff under (a) that certain Master
                       Equipment Lease Agreement Number 57244, together with
                       Leasing Schedule Nos. 57244-001, 002, 003, 004, 005, and 006,
                       and (b) that certain Credit and Security Agreement dated as of
                       October 30, 2015, by and among Plaintiff and Defendants, as the
                       same has been or may be amended, modified, or amended and
                       restated from time to time, and (2) the Purchaser the Credit Bid
                       Amount, the Break-Up Fee and the Expense Reimbursement.



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           ii.    Sellers are authorized to transfer the Purchased Assets in
                  accordance with the terms and conditions of the Stalking Horse
                  Purchase Agreement.

          iii.    Upon consummation of the Stalking Horse Purchase Agreement,
                  such transfer shall (a) be legal, valid, binding, and effective; (b)
                  vest Purchaser with all right, title, and interest of the Sellers in
                  the Purchased Assets as stated in the Stalking Horse Purchase
                  Agreement; and (c) except as provided in the Stalking Horse
                  Purchase Agreement, be free and clear of all (i) liens, claims,
                  mortgages, restrictions, hypothecations, charges, indentures,
                  loan agreements, instruments, leases, license, options, deeds of
                  trust, security interests, conditional sale, or other title retention
                  agreements, pledges, liens (including, without limitation,
                  mechanic's,     materialman's,       or  other    consensual     and
                  nonconsensual liens and statutory liens), judgments, demands,
                  encumbrances, rights of any kind, remedies of any kind,
                  restrictions of any kind, of rights of offsets, contracts, rights of
                  recoupment, rights of recovery, claims for reimbursement, claims
                  for contribution, claims for indemnity, claims for exoneration,
                  claims for environmental liability, claims for tax liability, decrees
                  of any court or foreign or domestic governmental entity, or
                  charges of any kind or nature, including but not limited to any
                  restriction on the use, voting, transfer, receipt of income or other
                  exercise of any attributes of ownership, debts arising in any way
                  in connection with any agreements, acts, or failures to act, of
                  Defendants, or Defendants' predecessors or affiliates, claims,
                  reclamation claims, obligations, liabilities, demands, guaranties,
                  options, rights, contractual or other commitments, restrictions,
                  interests, and matters of any kind or nature, whether known or
                  unknown, choate or inchoate, filed or unfiled, scheduled or
                  unscheduled, noticed or unnoticed, recorded or unrecorded,
                  perfected or unperfected, allowed or disallowed, contingent or
                  noncontingent, liquidated or unliquidated, matured or
                  unmatured, material or non-material, disputed or undisputed,
                  whether in rem or in personam, whether arising prior to or
                  subsequent to the commencement of the present case, whether
                  imposed by agreement, understanding, law, equity, or otherwise,
                  including claims otherwise arising under doctrines of successor
                  liability, senior or subordinate, whether at law or equity,
                  including all claims or rights based on any theory of successor or
                  transferee liability, (ii) all environmental claims, all changes in
                  control provisions, (iii) all rights to object or consent to the
                  effectiveness of the transfer of the Purchased Assets to Purchaser,
                  (iv) all rights at law or equity, and (v) all interests in the


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                  Purchased Assets (collectively, "Interests or Claims"), with any
                  such Interests or Claims to attach to the cash proceeds of the sale
                  of the Purchased Assets in the order of their priority with the
                  same validity, force, and effect and to the extent that they now
                  have as against the Purchased Assets, subject to any claims or
                  defenses Defendants or any other party in interest may possess
                  with respect thereto.

          iv.     Following the closing of the sale of the Purchased Assets, no
                  holder of any Interests or Claims in the Purchased Assets may
                  interfere with Purchaser's use and enjoyment of the Purchased
                  Assets based on or related to such Interests or Claims, or any
                  actions that Defendants may take, and no person shall take any
                  action to prevent, interfere with, or otherwise enjoin
                  consummation of the transactions contemplated in or by the
                  Stalking Horse Purchase Agreement and any related agreements,
                  documents, or instruments, or this order. All holders of Interests
                  or Claims of any kind are forever barred, estopped, and
                  permanently enjoined from pursuing or asserting such Interests
                  or Claims against Purchaser or any affiliate of Purchaser or any
                  of their assets, property, successors, assigns, or against the
                  Purchased Assets.

          v.      From time to time following the closing, Receiver and Purchaser
                  will, and will cause their respective affiliates to, execute,
                  acknowledge, and deliver all such further conveyances, notices,
                  assumptions, assignments, releases, and other instruments, and
                  will take such further actions, as may be reasonably necessary or
                  appropriate to assure fully to Purchaser and its respective
                  successors or assigns, all of the properties, rights, titles, interests,
                  estates, remedies, powers, and privileges intended to be conveyed
                  to Purchaser under the Stalking Horse Purchase Agreement.
                  Nothing in this order will require Purchaser or any of their
                  affiliates to assume any liabilities other than the Assumed
                  Liabilities specifically described in the Stalking Horse Purchase
                  Agreement.

          vi.     The sale of the Purchased Assets was undertaken in good faith
                  and accordingly, the reversal or modification on appeal of the
                  authorization provided herein of the sale of the Purchased Assets
                  shall neither affect the validity or enforceability of the Stalking
                  Horse Purchase Agreement nor the transfer of the Purchased
                  Assets to Purchaser, free and clear of all Interests and Claims,
                  and notwithstanding any such reversal or modification, the
                  transfer of the Purchased Assets to Purchaser will be governed in


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                  all respects by the original provisions of this order and the
                  Stalking Horse Purchase Agreement.

         vii.     Except as expressly provided in the Stalking Horse Purchase
                  Agreement, Purchaser is not assuming nor shall Purchaser or any
                  of Purchaser's affiliates be in any way liable or responsible, as a
                  successor or otherwise, for any liabilities, debts, or obligations of
                  Sellers in any way whatsoever relating to or arising out of Sellers'
                  ownership or use of the Purchased Assets prior to the
                  consummation of the transactions contemplated by the Stalking
                  Horse Purchase Agreement (including, without limitation, any
                  Interests or Claims), or any liabilities calculable by reference to
                  the Sellers or their assets or operations, or relating to continuing
                  or other conditions existing on or prior to consummation of the
                  transactions contemplated by the Stalking Horse Purchase
                  Agreement, which liabilities, debts, and obligations are hereby
                  extinguished insofar as they may give rise to liability, successor
                  or otherwise, against Purchaser or any affiliate of Purchaser.
                  Without limiting the generality of the foregoing and except as
                  expressly provided in the Stalking Horse Purchase Agreement,
                  Purchaser will not be liable or responsible, as a successor or
                  otherwise, for Sellers' liabilities, debts, commitments, or
                  obligations, whether calculable by reference to Sellers, arising on
                  or prior to the Closing and under or in connection with (i) any
                  employment or labor or collective bargaining agreements,
                  consulting agreements, severance agreements, change in control
                  agreements, or other similar agreements to which Sellers are a
                  party, (ii) any pension, welfare, compensation, or other employee
                  benefit plans, agreements, practices, programs, including without
                  limitation, any pension plan of Sellers, (iii) the cessation of the
                  Sellers’ operations, dismissal of employees, or termination of
                  employment or labor agreements or pension, welfare,
                  compensation, or other employee benefit plans, agreements,
                  practices, and programs, obligations that might otherwise arise
                  from or under the Employee Retirement Income Security Act of
                  1974, as amended, the Fair Labor Standard Act, Title VII of the
                  Civil Rights Act of 1964, the Age Discrimination and Employment
                  Act of 1967, the Americans with Disabilities Act of 1991, the
                  Federal Rehabilitation Act of 1973, the National Labor Relations
                  Act, the Consolidated Omnibus Budget Reconciliation Act of
                  1985, COBRA, or the Worker Adjustment and Retraining
                  Notification Act, (iv) environmental liabilities, debts, claims, or
                  obligations arising from conditions first existing on or prior to
                  closing of the Closing (including, without limitation, the presence
                  of hazardous, toxic, polluting, or contaminating substances or


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                         waste), which may be asserted on any basis, including, without
                         limitation, under the Comprehensive Environmental Response
                         Compensation and Liability Act, 42 U.S.C. § 9601, et seq., (v) any
                         bulk sales or similar law, (vi) any liabilities, debts, commitments
                         or obligations of or required to be paid by Sellers for any taxes of
                         any kind for any period, (vii) any liabilities, debts, commitments,
                         or obligations for any taxes relating to the business of Sellers or
                         the Purchased Assets for or applicable to the pre-closing period,
                         and (viii) any products liability or similar claims, whether under
                         any state or federal laws or otherwise.

           viii.         Purchaser is deemed not to be, as a result of the consummation of
                         the transaction contemplated by the Stalking Horse Purchase
                         Agreement: (a) the successor to Sellers; (b) de facto or otherwise,
                         merged with or into Sellers; (c) the alter ego, a mere continuation
                         or substantial continuation of Sellers or the enterprise of Sellers;
                         or (d) responsible for any liability of Sellers or for payment of any
                         benefit accruing to Sellers, except as specifically provided for in
                         the Stalking Horse Purchase Agreement.

            ix.          Each and every federal, state, and local governmental agency,
                         department, or official is hereby directed to accept any and all
                         documents and instruments necessary and appropriate to
                         consummate the Stalking Horse Purchase Agreement.

             x.          Defendants and Purchaser are authorized to make non-
                         substantive changes (including changes to dates) to the Stalking
                         Horse Purchase Agreement and any ancillary documents without
                         seeking further order of the Court.

            xi.          This order and the Stalking Horse Purchase Agreement shall be
                         binding upon, and shall inure to the benefit of, Sellers and
                         Purchaser, and their respective successors and permitted assigns.

           xii.          The terms and conditions of this order shall be immediately
                         effective and enforceable upon its entry.

      7.           The form of the Notice of Auction and Sale of Receivership Assets, see

ECF 120-3, and the manner of service described herein are appropriate and sufficient

for all purposes and hereby approved in all respects. Defendants shall be permitted

to make non-substantive revisions to such notices.




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      8.          Notwithstanding anything in the Motion, this order, and/or the Stalking

Horse Purchase Agreement to the contrary, upon the closing of the sale contemplated

herein, Receiver is authorized and directed to immediately distribute the proceeds of

the sale as follows:

             i.         To Receiver, the Post-Closing Budget Amount to be held by the
                        Receiver in Trust, which funds may only be used to pay those
                        Receiver’s fees and costs, and those fees and costs of Receiver's
                        retained professionals, which have been, or are subsequently,
                        approved by the Court pursuant to section six of the Receivership
                        Order;

            ii.         To Plaintiff, an amount to pay in full the obligations and
                        indebtedness owed to Plaintiff under (i) that certain Master
                        Equipment Lease Agreement Number 57244, together with
                        Leasing Schedule Nos. 57244-001, 002, 003, 004, 005, and 006,
                        and (ii) that certain Credit and Security Agreement dated as of
                        October 30, 2015, by and among Plaintiff and Defendants, as the
                        same has been or may be amended, modified, or amended and
                        restated from time to time;

           iii.         To Purchaser, the Credit Bid Amount, the Break-Up Fee, and the
                        Expense Reimbursement.

           iv.          The balance, if any, to be held by Receiver pending further order
                        of the Court.

      9.          No other or further notice of the Motion, this order, the Bidding

Procedures, the sale, or the Auction shall be required.

      SO ORDERED.

                                           s/ Stephen J. Murphy, III
                                           STEPHEN J. MURPHY, III
                                           United States District Judge

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on September 27, 2019, by electronic and/or ordinary mail.

                                           David P. Parker
                                           Case Manager


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